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UNITED STATES BANKRUPTCY CCURT
EASTERN DISTRICT OF NEW YORK

 

In Re:
g Case No.: l-18-44548-cec
NORMA V. ROBINSON,
Chapter 13
Debtor(s).

 

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RESPONSE AND OBJECTION TO DEBTOR’S CHAPTER 13 PLAN

I, Solomon A. Frager an attorney admitted to the practice of law in the Northern District of
New Yorl<, am an Associate at the law firm Dorf & Nelson LLP, attorneys for Creditor U.S.
BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR THE C-BASS MORTGAGE LOAN
ASSET-BACKED CERTIFICATES, SERIES 2007-MX1 (“U.S. Bank”), respectfully objects to
the Debtors’ Proposed Chapter 13 Plan filed on September 17, 2018 (the “Plan”) for the reasons
set forth herein.

l. On July 21, 2006, Norma V. Robinson borrowed the principal sum of
$412,000.00 from U.S. Bank’s predecessor, JPMorgan Chase Bank, N.A. (“Chase”). As
evidence of the Debtors promise to repay the loan, Norma V. Robinson, executed a note, dated
July 21, 2006 in favor of Chase (the “Note”).

2. In order to collateralize the aforesaid obligation, Norma V. Robinson executed,
acknowledged, and delivered a mortgage to Chase on July 2l, 2006, encumbering the Subject
Property in the principal amount of $412,000.00 (the “Mortgage”), Which Was recorded in the
Queens County Offlce of the NeW York City Register on June 18, 2009 at CRFN
2009000185384.

3. Thereafter, the Note and the Mortgage Were duly assigned by Chase to U.S. Bank

National Association, as trustee for the C-Bass Mortgage Loan Asset-Backed Certificates, Series

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2007-MX1 as evidenced by purchase and delivery of the underlying Note and Mortgage and as
evidenced by the execution of an assignment of mortgage dated February 4, 2015, which Was
recorded in the Queens County Office of the New York City Register on May 19, 2015, at CRFN
2015000166770 (the “Assignment”).

4. As evidenced by the Complaint filed in the Foreclosure Action, Norma V.
Robinson defaulted in making payments to U.S. Bank as required under the terms of the Note
and Mortgage by failing to make the monthly payment due on October 1, 2013, and each month
thereafter. As a result of Debtors’ default, U.S. Bank commenced the Foreclosure Action by
filing of a Notice of Pendency, Summons, and Complaint in the Queens County Clerk’s Office
on October 28, 2015 bearing IndeX Number 711218/2015.

5. Based upon a review of Debtor’s proposed plan and ancillary filings, and upon
information and belief, the Plan does not comply with the provisions of ll U.S. Code § 1325. lt
is further respectfully submitted that the current bankruptcy action is not filed in good faith, but
rather, is being utilized as a method to delay the foreclosure sale of the Subject Property at issue.
Accordingly, U.S. Bank requests this Court to deny confirmation of the Plan.

DEBTOR’S PLAN SHOULD NOT BE CONFIRMED

6. According to my review of US Bank’s records, and based on what has been
represented to me by representatives of chen Loan Servicing as Servicer for US Bank, as of
September 21, 2018, the total outstanding debt owed pursuant to the Note was $559,059.22.

7. The Debtor’s petition states that She owns two properties in fee simple. The first
is the Collateral that secures the Note (“chen Property”). The second is an investment property

located at 119-35 Guy R. Brewer Blvd, Saint Albans, New York 11412 (“Investment Property”).

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Debtor lists the value of the chen Property at $546,000.00. __S_e_e Schedule A/B Part 1 of
Debtor’s Petition.

8. According to the Debtors’ petition, it does not appear as though they are claiming
a homestead exemption for the Subject Property. S_e§ Schedule C Part 1 of Debtor’s Petition.

9. AS Stated in the Plan, the Debtors propose to submit sixty (60) monthly payments
of $3,255.00 to the supervision and control of the trustee for payment to the creditors; equaling
$195,300.00 in total payments over the course of the sixty months. § Debtor’s Chapter 13 Plan
at 11 2.1.

10. This total amount would not even cover 40% of the amount owed to U.S. Bank,
and is thus prima facie insufficient

11. ln any event, as stated herein, Debtor’s Plan is also not viable and compliant with
11 U.S. Code § 1325. Accordingly, US Bank objects to the Plan for the reasons stated below.

12. ln order for a Chapter 13 plan to be continued when a debtor has creditors with
secured claims, one of three conditions must be satisfied: (a) the secured creditor accepts the plan
in accordance with 11 U.S.C. § 1325(a)(5)(A), (b) the debtor surrenders the property securing the
claim to the creditor, per § 1325(a)(5)(C), or (c) the debtor invokes what is sometimes referred to
as the “cram down?’ option per § 1325(a)(5)(B). In re Boodrow, 126 F.3d 43, 60 (2d Cir. 1997).

13. In this case, US Bank does not accept the Plan. As such, subsection (a) does not
apply-

14. Similarly, Debtor is not offering to surrender the Subject Property, so subsection

(c) does not apply.

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15. The only remaining option is subsection (b), i.e. the “cram down” option.
However, in order to be confirmed under this provision a number of requirements must be met,
which are not met here.

16. At the outset, it is unquestionable that the instant proceeding is submitted in bad
faith. As such, this plan should not be continued pursuant to § 1325(a)(7).

17. Next,' it appears the requirements of § 1325(a)(5)(B)(ii) are not met, since the
value, as of the effective date of the Plan, of the property to be distributed under the Debtor’s
Plan is less than the allowed amount of U.S. Bank’s claim.

18. The Debtor seeks to recapitalize the arrears to create a new principal balance of
$545,460.00. However, this is proposed modified principal balance is thousands of dollars below
the actual amount owed.

19. Moreover, the debtor seeks a 40 year term extension. This is unreasonable given
the fact that U.S. Bank has not received a mortgage payment in well over five (5) years, the
original term of the loan was fifteen (15) years and the loan is scheduled to mature in
approximately three (3) years - 2021.

20. Lastly, the plan must be financially viable pursuant to 11 U.S.C. § 1325(a)(6).
However, based on the information contained in the plan and the Debtor’s schedules, the Plan
does not appear to be viable and should not be confirmed

21. 11 U.S.C. § 1325(a)(`6) requires that for a plan to be confirmable, the debtor must
be able to make all payments under the Plan and comply with the terms of the Plan.

22. As stated in the Schedules, Debtor’s total monthly take-home net pay is
$8,370.00. According to the Debtor’s Schedules his total monthly expenses are $6,689.00. So,

according to the debtor’s own schedules, their operating monthly net income is only $1,681.00

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As such, the debtor’s proposal to pay $3,255.00 per month towards her secured and unsecured
debts (which includes an investment property), to modify the instant loan to a PITI payment of
about $2,800.00, is simply not financially feasible given her net income. Even after modifying
her loan in accordance with her own proposal, the Debtor will be unable to a monthly payment of
$6,055 without a high risk of re-default.

23. Based on the foregoing, US Bank does not accept the Plan and submits the within
objection pursuant to 11 U.S.C. 1325.

WHEREFORE, it is respectfully requested that this Court decline to confirm the Plan
along with any other and further relief as this Court deems just and proper.

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Dated: Rye, New York /

0ctober 17, 2018
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